Case 2:04-cr-20485-BBD Document 41 Filed 04/25/05 Page 1 of 2 Page|D 64

iN THE uNiTED sTATEs DisTRlcT couRT %
FoR THE WESTERN DisTRlcT oi= TENNESSEE@51~1 515 1:, 11 1.
wEsTERN olvisioN

i:=`" .J E>A__-r‘l § 3':='. i_}i 5 9
_..i" f r _1. l l 1.."',.

\ \h( .!r`

uNnED sTATEs oF AMERICA `:“’D ‘°F "’ ‘” ii

Plaintiff
VS.
CR. NO. 04-20485-D
lVlARK MERRELL
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19l 2005. At that time, counsel for the
defendant requested a continuance of the |Vlay 21 2005 trial date in order to allow for
additional preparation in the oase.

The Court granted the request and reset the trial date to June 61 2005 with a LQQL
date of Thursgy, Mav 191 2005, at 9:00 a.m., in Courtroom 3, ch F|oor ofthe Federa|
Bui|ding, l\/|emphis, TN.

The period from April 191 2005 through June 171 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this §§ day Of Apri|, 2005.

 
    

B N|CE B. DONALD
lTED STATES D|STR|CT JUDGE

This document entered on the docket ipth ln com !iance

with i-`iuie 55 and/or 32 {b) FRCrF' on d 5'0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20485 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

i\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

